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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

                                                )        CIVIL ACTION NO. 15-4479
ALANA CAIN, ET AL.                              )
                                                )        (CLASS ACTION)
V.                                              )
                                                )        JUDGE VANCE
THE CITY OF NEW ORLEANS, ET AL.                 )
                                                )        MAGISTRATE WILKINSON

                                    NOTICE OF APPEAL

TO:    Alec Karakatsanis
       Civil Rights Corps
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       Honorable Sarah S. Vance
       Judge, Section R
       United States District Court for the Eastern District of Louisiana
       Hale Boggs Federal Building
       500 Poydras Street, Room C255
       New Orleans, LA 70130



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       PLEASE TAKE NOTICE that defendants, Honorable Judge Laurie White, Honorable

Judge Tracey Flemings-Davillier, Honorable Judge Benedict Willard, Honorable Judge Keva

Landrum-Johnson, Honorable Judge Robin Pittman, Honorable Judge Byron Williams,

Honorable Judge Camille Buras, Honorable Judge Karen Herman, Honorable Judge Daryl

Derbigny, Honorable Judge Arthur Hunter, Honorable Judge Franz Ziblich, and Magistrate

Judge Harry Cantrell, hereby appeal to the United States Court of Appeals for the Fifth Circuit

from this Court’s Declaratory Judgment (Doc. 319) dated August 3, 2018, said appeal to include

the following interlocutory Orders and Reasons issued by the Court prior to entry of the

Declaratory Judgment:

   1. Doc. 109—Order and Reasons dated April 21, 2016;

   2. Doc. 111—Order and Reasons dated April 22, 2016;

   3. Doc. 119—Order and Reasons dated May 3, 2016;

   4. Doc. 124—Order and Reasons dated May 11, 2016;

   5. Doc. 136—Order and Reasons dated May 23, 2016;

   6. Doc. 279—Order and Reasons dated December 13, 2017.

   7. Doc. 318—Order and Reasons dated August 2, 2018.

                                                    Respectfully submitted,


                                                    /s/ Dennis J. Phayer
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                                                     Attorneys for: Honorable Judge Laurie A.
                                                     White, Honorable Judge Tracey Flemings-
                                                     Davillier, Honorable Judge Benedict
                                                     Willard, Honorable Judge Keva Landrum-
                                                     Johnson, Honorable Judge Robin Pittman,
                                                     Honorable Judge Byron Williams,
                                                     Honorable Judge Camille Buras,
                                                     Honorable Judge Karen Herman,
                                                     Honorable Judge Darryl Derbigny,
                                                     Honorable Judge Arthur Hunter,
                                                     Honorable Judge Franz Zibilich, and
                                                     Magistrate Judge Harry Cantrell


                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 21st day of August, a copy of the foregoing pleading has been

forwarded to all counsel of record via CM/ECF filing through the United States District Court

system, email and/or United States Mail.


                                            /s/ Dennis J. Phayer
                                            ________________________________________




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